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UNITED STATES DISTRICT COURT
                                                                            ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK
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: UNITED STATES OF AMERICA                      1                           D ATE FILED:
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I                -against-                                             18-cr-820 (JSR)
I                                              I
I                                              I
: CESAR ALTIERI SAYOC,                          :                      ORDER
I                                               I
I                                               I       f'
1          Defendant.        :
'---------------------------~
JED S. RAKOFF, U.S.D.J.

         The Court is in receipt of a letter from defendant Sayoc,

dated        March   23,     2019,      in   which           he            seeks        to     clarify            certain
                                                                  \.   '
statements he made during his guilty-plea colloquy on March 21.

Counsel        for   the     defendant       and        for            the      Government                are       hereby

    instructed, no later than one week from the date of this Order, to

send letters to the Court indieating whether they believe it is

necessary for further action to be taken at this time.

         The Clerk of the Court               is        respectf;.illy directed to docket

defendant's letter along with this Order.

         SO ORDERED.

    Dated:      New York, NY

                April      l_,   2019                                       JED S. RAKOFF, U.S.D.J.




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